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                                   8                                  UNITED STATES DISTRICT COURT
                                   9                                 NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                               SAN JOSE DIVISION
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                                  12     FEDERAL TRADE COMMISSION,                            Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiff,                            CASE MANAGEMENT ORDER
                                  14              v.

                                  15     QUALCOMM INCORPORATED,
                                  16                     Defendant.

                                  17
                                       Plaintiff’s Attorney: Jennifer Milici
                                  18   Defendant’s Attorneys: Robert Van Nest, Gary Bornstein, Brent Byars
                                  19
                                              A further case management conference was held on October 24, 2018.
                                  20
                                               Each side shall be limited to three motions in limine in addition to the two Daubert
                                  21   motions/motions to strike that each side has already filed. Motions in limine and oppositions shall
                                       be limited to three pages each. No replies are permitted.
                                  22

                                  23           By November 8, 2018, the parties shall exchange a preliminary list of up to 500 exhibits
                                       per side. By November 21, 2018, the parties shall exchange a supplemental list of up to 150
                                  24   additional exhibits per side. By November 27, 2018, the parties shall exchange a final pretrial list
                                       of up to 450 exhibits per side. At trial, the parties shall be limited to 250 joint exhibits total plus
                                  25   150 exhibits per side.
                                  26          Pretrial briefs are limited to 25 pages each. Post-trial briefs are limited to 35 pages each.
                                  27
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                                       Case No. 17-CV-00220-LHK
                                       CASE MANAGEMENT ORDER
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                                               The bench trial will be 10 days. Each side is limited to 25 hours for evidence. Each side is
                                   1   limited to 30 minutes for opening statements.
                                   2
                                               The Court set the following deadlines for high priority objections to demonstratives,
                                   3   exhibits, deposition testimony, and live testimony during trial. Although demonstratives are not
                                       evidence and generally are not admitted at trial absent stipulation of the parties, the Court refers to
                                   4   demonstratives, exhibits, deposition testimony, and live testimony as “HPO evidence” hereafter in
                                       this order. By 8:00 a.m. two days before the HPO evidence will be introduced or used at trial, the
                                   5
                                       parties shall exchange the HPO evidence. By 7:00 p.m. that same day, the parties shall meet and
                                   6   confer in person to discuss objections to the HPO evidence and to try to narrow or eliminate their
                                       disputes. By 8:00 a.m. one day before the HPO evidence will be introduced or used at trial, the
                                   7   parties shall concurrently file no more than 6 pages of up to 10 high priority objections per side
                                       and responses to the opposing party’s high priority objections. The Court will provide a ruling on
                                   8   the objections by that evening.
                                   9
                                               Joint sealing motions may be filed the day after a document for which the parties seek
                                  10   sealing is filed.

                                  11          Regarding the issue of a permanent injunction, the Court set a briefing schedule on
                                       whether supplemental discovery, including Qualcomm’s introduction of evidence created after the
                                  12   March 30, 2018 close of fact discovery, will be allowed. The parties’ briefs regarding
Northern District of California
 United States District Court




                                       supplemental discovery shall be limited to four pages and shall be filed according to the schedule
                                  13
                                       below.
                                  14
                                              The Court set the following case schedule:
                                  15
                                         Scheduled Event                                            Date
                                  16
                                         Due Date of Simultaneous Briefs Regarding Post-            October 31, 2018
                                  17     Discovery Evidence
                                  18     Due Date of Simultaneous Response Briefs Regarding November 7, 2018
                                         Post-Discovery Evidence
                                  19
                                         Final Pretrial Conference                                  December 13, 2018, at 1:30 p.m.
                                  20     Jury/Bench Trial                                           January 4, 2019, at 9:00 a.m.
                                  21     Length of Trial                                            10 days
                                  22

                                  23   IT IS SO ORDERED.

                                  24   Dated: October 24, 2018

                                  25                                                     ______________________________________
                                                                                         LUCY H. KOH
                                  26                                                     United States District Judge

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                                       Case No. 17-CV-00220-LHK
                                       CASE MANAGEMENT ORDER
